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                    EXHIBIT A
                    (Redacted)
                                                    Case 4:20-cv-05640-YGR                                 Document 1416-2                        Filed 03/31/25                          Page 2 of 2


Production Bates of    Doc Number   Production    Production   Custodians   Document     Document   From   To   Cc   Subject   OriginalName      Redact or   PrivilegeType     Privilege               Additional           Attorneys, Legal      Special Master
Parent Document                     Bates         Bates End                 Date         Time                                                    Withhold                      Description             Privilege            Staff, and            Determination
(Folder Title)                      Beginning                                                                                                                                                          Context              Employees Acting      (Priv - Yes; Priv -
                                                                                                                                                                                                                            at the Direction of   No)
                                                                                                                                                                                                                            counsel

Messages Among Non-legal Apple Employees


                                                                                                                                                                               Email chain reflecting
                                                                                                                                                                               information for the
                                                                                                                                                                               purpose of obtaining
                                                                                                                                                                               legal advice with
                                                                                                                               Private channel                                 counsel regarding
                                                                                                                               #        -                                      injunction
                                                                                                                               engineering -                                   compliance
                                    PRIV-APL-     PRIV-APL-                                                                    2022-04-25                                      requirements for link                        Ling Lew (Apple in-
PRIV-APL-EG_00091533      2076      EG_00091533   EG_00091535 Liu, Terry    2022-04-25   21:56:10                              (UTC).pdf         Withhold    AttorneyClient    format and buttons.                          house counsel)        YES
                                                                                                                                                                               Document reflecting
                                                                                                                                                                               legal advice from
                                                                                                                                                                               counsel regarding
                                                                                                                                                                               foreign regulatory     Employees
                                                                                                                                                                               issues in the          seeking and
                                                                                                                               Direct message                                  European Union,        counsel (Ling
                                                                                                                               Angela (App                                     including DMA          Lew) providing
                                                                                                                               Store) Wong,                                    prepared in            legal advice
                                                                                                                               Ann Thai and 7                                  anticipation or        regarding EU
                                    PRIV-APL-        PRIV-APL-                                                                 others - 2024-                AttorneyClient;   furtherance of         eligibility-related   Ling Lew (Apple in-
PRIV-APL-EG_00091668       2090     EG_00091668 EG_00091670 Liu, Terry      2024-04-04   18:33:00                              04-04 (UTC).pdf Withhold      Work Product      litigation.            copy                  house counsel)        YES
Documents Related to Foreign Regulatory Issues in the Netherlands
                                                                                                                                                                                                       Attachment to
                                                                                                                                                                                                       email chain
                                                                                                                                                                               Document reflecting     reflecting legal
                                                                                                                                                                               legal advice from       advice from
                                                                                                                                                                               counsel regarding       counsel
                                                                                                                                                                               foreign regulatory      regarding
                                                              Liu, Terry;                                                      2022-05-31 App                                  issues in the           messaging            Sean Cameron
                                    PRIV-APL-     PRIV-APL-   Onak, Raf;                                                       Store HI                                        Netherlands for         surrounding the      (Apple in-house
PRIV-APL-EG_00091988      2115      EG_00092002   EG_00092007 Elman, Josh                                                             key     Withhold       AttorneyClient    dating apps.            Netherlands          counsel)              YES
                                                                                                                                                                                                       Document
                                                                                                                                                                                                       attached to
                                                                                                                                                                                                       email chain
                                                                                                                                                                               Draft document          reflecting
                                                                                                                                                                               reflecting legal        attorney
                                                                                                                                                                               advice from counsel     comments on
                                                                                                                                                                               regarding foreign       banner pages
                                                              Liu, Terry;                                                      2022-05-27 App                                  regulatory issues in    regarding the        Sean Cameron
                                    PRIV-APL-     PRIV-APL-   Onak, Raf;                                                       Store HI                                        the Netherlands for     Netherlands          (Apple in-house
PRIV-APL-EG_00092050      2122      EG_00092062   EG_00092071 Elman, Josh                                                             key     Withhold       AttorneyClient    dating apps.            compliance           counsel)              YES
                                                                                                                                                                                                       Document
                                                                                                                                                                                                       attached to
                                                                                                                                                                                                       email chain
                                                                                                                                                                                                       reflecting
                                                                                                                                                                               Draft document          attorney
                                                                                                                                                                               reflecting legal        comments on
                                                                                                                                                                               advice from counsel     banner pages
                                                                                                                                                                               regarding foreign       and deck
                                                              Liu, Terry;                                                      2022-05-27 App                                  regulatory issues in    regarding the        Sean Cameron
                                    PRIV-APL-     PRIV-APL-   Onak, Raf;                                                       Store HI                                        the Netherlands for     Netherlands          (Apple in-house
PRIV-APL-EG_00092072      2124      EG_00092084   EG_00092093 Elman, Josh                                                             key     Withhold       AttorneyClient    dating apps.            compliance           counsel)              YES
